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                    IN THE UNITED STATES COURT OF APPEALS
                            FOR THE FOURTH CIRCUIT


         PFLAG, Inc., et al.,

                     Plaintiff-Appellees,

                           v.
                                                                        No. 25-1279
         TRUMP, in his official capacity as President of
         the United States, et al.,

                     Defendant-Appellants.


                           UNOPPOSED MOTION TO HOLD
                         BRIEFING SCHEDULE IN ABEYANCE

              The government respectfully requests that the Court pause briefing in

        this appeal until after the Supreme Court’s decision in United States v.

        Skrmetti, No. 23-477 (S. Ct.), which is likely to affect this Court’s resolution

        of the claims in this appeal. The government requests that its opening brief

        be due 28 days after a decision in Skrmetti, followed by plaintiffs’ response

        brief 30 days after that, and the government’s reply 14 days later. Plaintiffs

        do not object to the relief requested in this motion.

              1.    This appeal arises from two Executive Orders. Executive Order

        14,168, 90 Fed. Reg. 8615 (Jan. 20, 2025), entitled “Defending Women From

        Gender Ideology Extremism and Restoring Biological Truth to the Federal
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        Government,” states in relevant part that “each agency shall assess grant

        conditions and grantee preferences and ensure grant funds do not promote

        gender ideology,” “consistent with applicable law.” Id. §§ 3(g), 8(b).

        Executive Order 14,187, 90 Fed. Reg. 8771, entitled “Protecting Children

        from Chemical and Surgical Mutilation,” directs agencies that provide

        research or educational grants to medical institutions to, “consistent with

        applicable law and in coordination with the Director of the Office of

        Management and Budget, immediately take appropriate steps to ensure that

        institutions receiving Federal research or education grants end the chemical

        and surgical mutilation of children,” which the Order defines to include use of

        several procedures used to address gender dysphoria in children and

        adolescents. Id. § 4.

              Plaintiffs brought claims alleging, among other things, that the

        Executive Orders discriminate based on sex or an individual’s transgender

        status in violation of the Fifth Amendment’s equal protection component.

        The district court granted a preliminary injunction restricting enforcement

        of several sections of the Executive Orders in certain ways, based in part on

        plaintiffs’ equal protection challenge.




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              The government appealed, and this Court issued a briefing schedule

        under which the government’s opening brief is due May 19, 2025.

              2.    The Supreme Court is currently considering the question

        whether certain restrictions on procedures used to address gender dysphoria

        in minors constitute discrimination based on sex or an individual’s

        transgender status in violation of the Equal Protection Clause of the

        Fourteenth Amendment. See United States v. Skrmetti, No. 23-477 (S. Ct.).

        That case concerns challenges brought by private parties, later supported by

        the United States as intervenor, against certain restrictions adopted by the

        State of Tennessee on procedures used to address gender dysphoria in

        minors. The Supreme Court received full briefing and heard argument on

        December 4, 2024. On February 7, 2025, the United States filed a letter

        explaining that it had “reconsidered [its] position” and concluded that the

        relevant restrictions “do[] not deny equal protection on account of sex or any

        other characteristic,” but urging the Court to “resolve the question

        presented.” Letter of Petitioner at 1, Skrmetti, supra (Feb. 7, 2025).

              3.    This Court should pause briefing in this appeal pending the

        Supreme Court’s decision in Skrmetti, supra. A decision regarding the equal

        protection principles applicable to restrictions on procedures used to address



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        gender dysphoria in minors is likely to bear on the resolution of this appeal.

        Pausing the briefing in this appeal until after resolution of Skrmetti would

        thus conserve the resources of this Court and the parties and avoid the

        potential need for supplemental briefing regarding Skrmetti. Moreover,

        because the Supreme Court’s term will end next month, any delay in briefing

        will be minimal and the ultimate resolution of this appeal will not be delayed

        much, if at all.

              4.     Accordingly, the government respectfully requests that the

        Court pause briefing in this appeal until after the Supreme Court’s decision

        in Skrmetti and requests that the government’s opening brief be due 28 days

        after that decision, followed by plaintiffs’ response brief 30 days later, and

        the government’s reply within 14 days thereafter.

              5.     Plaintiffs’ counsel has indicated that plaintiffs do not object to the

        relief requested in this motion.




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                                      CONCLUSION

              For the foregoing reasons, the Court should pause briefing in this

        appeal until after the Supreme Court’s forthcoming decision in Skrmetti,

        with the government’s opening brief due 28 days after that decision, a

        response brief due 30 days after that, and a reply due within 14 days

        thereafter.

                                                   Respectfully submitted,

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              MAY 2025




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                           CERTIFICATE OF COMPLIANCE

              Pursuant to Fed. R. App. P. 32(g), I hereby certify this motion

        complies with the requirements of Fed. R. App. P. 27(d)(1)(E) because it has

        been prepared in 14-point CenturyExpd BT, a proportionally spaced font,

        and that it complies with the type-volume limitation of Fed. R. App. P.

        27(d)(2)(A) because it contains 694 words, according to the count of Microsoft

        Word.

                                                 s/ Joshua Dos Santos
                                                JOSHUA DOS SANTOS
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                               CERTIFICATE OF SERVICE

              I certify that on May 8, 2025, I filed and served the foregoing with the

        Clerk of the Court by causing a copy to be electronically filed via the

        appellate ACMS system. I also hereby certify that the participants in the

        case are registered ACMS users and will be served via the ACMS system.

                                                  s/ Joshua Dos Santos
                                                 JOSHUA DOS SANTOS
